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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR16-287-JLR
 9
                                    Plaintiff,
10
            v.
11                                                        DETENTION ORDER
12   LUIS QUINONES CEJA
     a/k/a “Cookie,”
13
                                    Defendant.
14

15   Offenses charged:
16
            Count 1:                        Conspiracy to Distribute Controlled Substances
17
            Counts 22, 23 and 32:           Possession of Controlled Substances with Intent to
18                                          Distribute

19          Count 32:                       Possession of Controlled Substances with Intent to
                                            Distribute
20
            Count 33:                       Unlawful Possession of a Firearm by a Prohibited Person
21

22          Count 34:                       Possession of a Firearm in Furtherance of a Drug
                                            Trafficking Crime
23
     Date of Detention Hearing: July 12, 2017
24
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
25
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
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 1         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         1.    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

 3               defendant is a flight risk and a danger to the community based on the nature of

 4               the pending charges. Application of the presumption is appropriate in this case.

 5         2.    Defendant has no release address.

 6         3.    Defendant has strong ties to Mexico.

 7         4.    Defendant has a history of failures to appear.

 8         5.    The evidence against the defendant, although the least significant factor, is very

 9               strong.

10         6.    Defendant has an on-going substance abuse problem.

11         7.    There are no conditions or combination of conditions other than detention that

12               will reasonably assure the appearance of defendant as required or ensure the

13               safety of the community.

14         IT IS THEREFORE ORDERED:
15         1.    Defendant shall be detained and shall be committed to the custody of the

16               Attorney General for confinement in a correction facility separate, to the extent

17               practicable, from persons awaiting or serving sentences or being held in custody

18               pending appeal;

19         2.    Defendant shall be afforded reasonable opportunity for private consultation with

20               counsel;

21         3.    On order of a court of the United States or on request of an attorney for the

22               government, the person in charge of the corrections facility in which defendant

23               is confined shall deliver the defendant to a United States Marshal for the

24               purpose of an appearance in connection with a court proceeding; and

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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           4.     The Clerk shall direct copies of this Order to counsel for the United States, to
 2
                  counsel for the defendant, to the United States Marshal, and to the United States
 3
                  Pretrial Services Officer.
 4
           DATED this 12th day of July, 2017.
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 6                                              AJAMES P. DONOHUE
 7                                               Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 3
